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UNITED STATES DISTRICT C< mm ,_,,, ,_ ~ ; m § ;:.::“?~.;;Z§§,.§§§
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CfTY OF ALMAW, KAZAKHSTAN and BTA BANK CONSENT ORDER GRANTING
~ . . Pla_infiff (8), _ SUBSTIT,’UTICN OF ATTORNEY
V.' '
ABLYAZOV¢ ET AL CASE mm 15.cv-05345(AJN)(KHP)
Defendant (s),
Notice is hereby given that, subject to approval by the court, V|KTOR a |LYAS KHRAFUNOV substitutes
(Pmy (S) NW°)
ANDREW T' SOLOMON , State Bar No. 2753597 as counsel of record in
(Nsms of‘Ncw A!wmcy)
Pla¢¢ of HOGUET NEWMAN REGAL & KENNY, LLP
(Nnoxz ofAttomey (s) Withdmwfng Appmnce)

Contact information for new counsel is as follows:

 

 

Finn Name; SOLOMON & CRAMER LLP
Addr¢gg; 1441 BROADWAY, SU|TE 6026
Telephone; (212} 884-9102 Fa¢simge (516) 386-2896

 

 

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I consent to the above substitution V f` KTO(L KW? AWWW /)
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Date:

 

 

   

[Note: A separate consent order of substitution must he filed by each new attorney Wishiug to enter an appearance.]

Case 1:15-cv-05345-A.]N-KHP Document 683 Filed 05/22/18 Page 2 of 2
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Plainw (8), SUBSTITU'I`ION OF ATTORNEY
V.
ABLYAZOV» ETN~ CASE vammz= 15~CV~05345(AJN)(KHP)
Defendant (s),
Notice is hereby given that, subject to approval by the court, V|KTOR & iLYAS KHRAFUNOV substitutes
(PE!\¥(¢)NW) y
ANDREW T. SOLOMON ’ Sta/¢BBM No_ 2758597 83 counsel ofr¢oord in
(Num qu¢w Auom¢y)
place of HoGuET NEWMAN REGAL a KENNY. LLP
(Namo omency (a) Wi!hdxxwing Appwame)

Contsot wfonnation for new counsel is as founws:

 

 

 

 

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l consent to the above substiwu'on.

 

 

 

 

 

 

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